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            IN THE UNITED STATES DISTRICT COURT FOR
               THE SOUTHERN DISTRICT OF GEORGIA 2011 JUN 15 PM 12 : 16
                      STATESBORO DIVISION

WESLEY BERNARD AIKENS,                                C LE


     Petitioner,

                                         CASE NOS. CV611-039
                                                   CR6 07-031
UNITED STATES OF AMERICA,

     Respondent


                            ORDER

     Before the Court is the Magistrate Judge's Report and

Recommendation, to which no objections have been filed.

(Doc. 2.)    After a careful de novo review of the record,

the report and recommendation is ADOPTED as the Court's

opinion in this case.       Accordingly, the 28 U.S.C. § 2255

Petition is DENIED, no Certificate of Appealability is

issued, and in forma pauperis status on appeal is DENIED.

The Clerk of Court is DIRECTED to close this case.

     SO ORDERED this /J 'day of June 2011.




                                 WILLIAM T. MOORE, R.
                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF GEORGIA
